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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION -

UNITED STATES OF AMERICA

NO, 1:17-CR-0034
FILED IN CAMERA AND
UNDER SEAL WITH THE CISO

v.

REALITY LEIGH WINNER

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JOINT STATUS REPORT

(U) NOW INTO COURT, through undersigned counsel, comes Defendant Reality Leigh
Winner (Ms. Winner” or the “Defendant”), and the United States of America, ‘pursuant to the
Court’s orders [Docs, 148, 155], who hereby provide the following joint status report.

(U) The Defendant has served four separate discovery requests upon the Government,
one on August 29, 2017 (the “First Discovery Request”), which the Defendant revised and
served on the Government on November 20, 2017, one on October 5, 2017 (the “Second
Discovery Request”), which the Defendant revised and served on the Government on November
20, 2017, one on October 26, 2017 (the “Third Discovery Request”), which the Defendant
revised and served on the Government on November 20, 2017, and one on November 20, 2017
(the “Fourth Discovery Request”), each of which is attached hereto as Exhibits A, B, C, and D,
respectively. The Government responded to the First Discovery Request on October 5, 2017; the
Second Discovery Request on November I, 2017; and the Third Discovery Request on
- November 21, 2017, each of which is attached hereto as Exhibits E, F, and G, respectively.

The Government has not responded in writing to the Fourth Discovery Request.
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a

(U) On October 19, 2017, the Defendant filed an Expedited Motion to Compel Response
to Discovery Requests, and the Government responded on November 1, 2017. The Court set the
matter for a hearing on November 3, 2017. On November 3, 2017, at the request of the Court,
the parties began a dialogue about the discovery requests that are the subject of the Motion to
Compel. The parties agreed that defense counsel would submit revised discovery requests for
the Government’s review. The Court entered the Fourth Amended Scheduling Order [Doc, 155],
which required the Defendant to submit revised discovery requests to the Government on or
before November 22, 2017, and required the parties to submit this joint status report on or before
November 27, 2017, in advance of a November 30, 2017 hearing. Pursuant to the Court’s
orders, on November: 8, 2017, and again on November 20, 2017, the parties met and conferred
regarding the Defendant’s discovery requests.

(U) Pursuant to the Court’s November 6, 2017 order, the following tables itemize all
_ unresolved disputes. regarding: (1).the discovery requests set forth in.the Expedited. Motion to
Compel and related briefs; and (2) all other outstanding defense discovery requests. Based upon
the Court’s direction not to file an additional motion to compel regarding discovery requests, the
Defendant hereby amends her Expedited Motion to Compel to seek compulsion of responses to

all of the following discovery requests from her First, Second, Third, and Fourth Discovery

Requests:
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‘st'Discovery Request”... 0
Description

DE.
Request No. 1(d)

Request No, ie)

Request No. 1(f)

Request No. 2(a)

Request No, 2(b)

Request No, 2(c)

? (U/POVO) The Defendant recognizes thal in the Government’s respanse to the Motion to Compei it provided the
total number of individuals with access to the

* (U) The Defendant believes that this information has been provided but seeks conlirmation from the Government.

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Request No. 2{d)

Request No. 3(c)

Request No, 3(d)

Request No, 3(e)

Request No. 3(f)

Request No. 3(h)

Request No. 7

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Request No, 8

Request No, 9

Request No. 11(a)

Request No. 11(b)

Request No. 3(a)

Request No. 3(g)

| Request Number |

7 (U) The Defendant recognizes that the Government has responded to the part of this request related to drafts or
modifications and to classification guides,

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Request No, 2

Request No. 3(a)

FU) Except where otherwise expressly limited, the Defendant’s requests contemplate and encompass documents,
within the broad scope of Fed. R. Crim. P. 16 in the possession, custody, or control of any branch of the United
States federal government. Defendant seeks broadly under Rule 16 all documents within the possession, custody, or
control of any branch of the United States Federal Government, The Defendant understands that it is the
Government’s position that the following agencies are outside the scope of its discovery obligations: CIA, DHS,
DoD (other than and USAF), National Security Council, NARA, and the White House Office. Without
agreeing to this limitation, in the interest of time, the Defendant will be issuing Rule 17 subpoenas to those
government entities which the Government has identified as falling outside of the scope of its discovery obligations.

(U) “Documentary materials”

includes working papers and drafts to the extent not covered by an applicable legal
privilege,

* (U) “Communications” as used in this discovery request, and any other discovery requests, includes but is not

limited to Lync conversations.

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Request No. 3(b)

Request No.
3(b)(1)

Request No. 3(c}

Request No. 3(d)

Request No. 3(e)

Request No. 3(f)

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Request No. 3(g)

Request No. 3(h)

Request No. |
3(h)(1)

Request No. 3(i)

Request No.
3M)

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Request No, 3(j)

Request No.
3@C)

Request No.
3(K)G)

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Request No. 3(1)

Request No. 3(m)}

Request No. |
3(m)(1)

-/-Request No: 3(n)- i—_—_—

Request No. 3(0)

n/a

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* Description

Request No, | (U) Generally, for each response that indicates “Your request calfs for the
production of material to which the defense fs not entitled,” please respond
or provide documents sufficient to identify the portion or portions of the
request that the government specifically objects to or believes the
‘Defendant is not entitled. Additionally, please clarify what is meant by the
phrase “not entitled” (i.e., precluded for security reasons; a specific federal
rule of criminal procedure; privilege, other statute; or an aspect of CIPA,

etc.).

Request No.
2(b)(iv)

Request No, 2(c)

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Request No, 2(d)

Request No. 2(e)

Request No. 2(g)

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Request No. 3(a) — | (U/EFOVO) The Defendant requests unredacted copies of the following
(i . classified documents produced in discovery: i

f. DOJ-CLASS-00250;
g. DOJ-CLASS-00251 through DOJ-CLASS-00407;

h. DOJ-CLASS-00543 through DOJ-CLASS-00735; and

i. DOJ-CLASS-00792 through DOJ-CLASS-00798.

Request No. 4

"l (LJ) The items with strikethroughs are items that the parties have resolved. The government, without conceding it
has any obligation to do so, has agreed to provide to the Defendant in classified discovery revised versions of the
documents with the Bates Numbers DOJ-CLASS-00012 through DOJ~CLASS-00028; DOJ-CLASS-00029 through
DOJ-CLASS-00038; DOJ-CLASS-00039; DOJ-CLASS-00042; and DOJ-CLASS-00230 through DOJ-CLASS-
00240. Accordingly, the Defendant has agreed to remove these items from the joint status report, but respectfully
requests that if the Defendant has any objections after reviewing the revised copies of these documents, that she be
afforded two weeks to bring such objections to the Court’s attention. This request applies to numbers 2(f), 3(a}-(e),
and 5 of the Defendant’s third discovery letter.

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Request No. 5

Request No. 6 (U//FOUS) The Defendant requests the attachments to the following
emails produced in classified discovery: DOJ-CLASS-764; DOJ-CLASS-
00801; and DOJ-CLASS-00806

Request No. 7

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Request No. |

Request No. 2

Request No, 3. (U/FOBVE) For DOJ-CLASS-000251 through DOJ-CLASS-000407,
please provide copies of the material contained in each link for each of the |
4.240 rows of information.

Request No, 4

Request No. 5

Request No. 6

Request No. 7

Request No, 8

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Request No, 9

Request No.

10

Request No,

1]

Request No.

12

Request No.

13

Request No.

14

Request No.

Request No.

16

Request No,

17

(U/FOUO) Identify whether there are any Ji policies, including but not
limited to publication guidelines, related to the and provide

copies of those policies.

(U/FORS) To. the extent not already provided, please provide a copy of
the audio underlying DOJ-CLASS-G00449 through DOJ-CLASS-000538.

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Request No. 18

Request No. 19

Request No. 20

Request No, 2]

Request No. 22

Request No. 23

Request No. 24

Request No, 25

Request No. 26

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. Request No. 27

Request No, 28 (U/FOUG) Please produce any and all documents, communications
supporting, undergirding, relating to, or involving the allegations of harm
as set forth on page 4 of the Government’s October 5, 2017 response.’

Request No. 29

Request No. 30

Request No. 31

Request No, 32

Request No, 33

Request No. 34 (U/FOUO) Identify the number of individuals who currently hold a TOP
SECRET clearance, SECRET clearance, and CONFIDENTIAL clearance,

Request No. 35

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Request No. 36

Request No. 37

Request No. 38

Request No, 39

Request No. 40

Request No. 41

Request No..42

Request No. 43

Request No. 44

Request No. 45

(U) To the « extent not t already produced, please produce a a copy of F the
Facebook conversation dated February 14, 2017 (as reference in the |
Government’ s November 6, 2017 amended 404(b) leticr .

(U) Any and all documents regarding the incident referenced in the |
Government’s November 6, 2017 amended 404(b) letter relating to the |
Defendant’s alleged “mishandling of classified information” in or about |

February 2017.

(U) Provide all documentation underlying each F BI 302 produced to th

:

Defendant, including but not limited to any agent notes and attachments. "|

Request No. 46

(U/FOUG) Please provide documents identified

as DOJ-CLASS-00447 |

through DOJ-CLASS-00448.
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(U) Notwithstanding certain challenges, including time and distance constraints, the
parties have had positive and constructive interactions and have worked diligently to reach some

agreement about the scope of the Defendants discovery requests, and they will continue

discussions in advance of the November 30 hearing.

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Respectfully Submitted,

-fsf

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Southern District of Georgia

CERTIFICATE OF SERVICE

I hereby certify that on November 27th, 2017, I delivered the foregoing to the CISO, and
will send notification of such filing to counsel of record for all parties.

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